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IN THE UNITED STATES DISTRICT COURT
FOR TI-IE DISTRICT OF NORTH DAKOTA
EASTERN DIVISION '

UNITED STATES OF AMERICA,
Case No. 3:17~cr-206-04

Plaintiff,
PLEA AGREEMENT
v.

ELIZABETH TON, a/k/a LISA GOMES,

 

Defendant.

Pursuant to Rule ll(c)(l)(B) of the Federal Rules of Criminal Procedure, the
United States of America, by its attorney, Christopher C. Myers, United States Attorney
for the District ol" North Dal<ota; defendant, ELIZABETI-I TON, a/k/ a LISA GOMES;
and defendant’s counsel, Kenneth Kohler, agree to the following:

l. Defendant acknowledges the Information charges a violation of Title 18,
United States Code, Section l956(h).

2. Defendant has read the charge and defendant’s attorney has fully explained
the charge to defendant `

3. Defendant fully understands the nature and elements of the charged crime.

4. Defendant Will voluntarily plead guilty to the Information.

5. The parties agree this Plea Agreement shall be filed as part of the Court
record and be governed by Federal Rule of Criminal Procedure ll(c). The parties
Speci;tically agree that Rule ll(c)(l)(C) does not apply. lf the United States makes the

non-binding recommendations specified in this Plea Agreement, then defendant

 

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acknowledges that this agreement will have been fulfilled Except as provided in
Rule ll(c)($), the Coui't’s refusal to accept any or all terms of the Plea Agreement does
not give defendant a right to withdraw defendant’s guilty plea.

6. Defendant will plead guilty because defendant is in fact guilty of the
charge. ln pleading guilty to the Inforniation, defendant acknowledges that:

Fi'om in or about January 2013 to in or about August 2016, in the Districts of
Noith Dakota, Oregon, Florida, Georgia, North Carolina, New Jersey, California, South
Carolina, Ohio, Colorado, Maryland, and elsewliere,

ELIZABETH TON, a/k/a LISA GOMES,

did knowingly and willfully combine, conspire, confederate, and agree together and with
others, to commit an offense against the United States, specifically: to violate Title 18,
United States Code, Sections 195 6(a)(l)(B)(i) and (a)(Z)(B)(i), in that members of the
conspiracy did knowingly and intentionally conduct and attempt to conduct financial
transactions in and affecting interstate and foreign commerce within the United States by
moving monetary instruments from the United States to Canada and China as described
below, which involved the proceeds of a specified unlawful activity, that is,'tlie
distribution and importation of controlled substances and controlled substance analogues
intended for human consumption in violation of Title 21, United States Code, Sections
802(32), 812, 813, 841, 846, 848, 952, 960 and 963, knowing that the transactions were
designed in whole and in part to conceal and disguise the nature, location, source,
ownership, and control of the proceeds of the said specified unlawful activity, in violation

of Title 18, United States Code, Section 1956(11).

 

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Overt Acts

In furtherance of this conspiracy and to effect and accomplish the objects of` it, one
or more of the conspirators committed the following overt acts:

l. During the course of and to further said conspiracy, members of the
conspiracy sold controlled substances and controlled substance analogues across the
United States including, but not limited to: North Dakota, Oregon, Florida, Georgia,
North Carolina, New Jersey, California, South Carolina, Ohio, Colorado, Maryland, and
elsewhere;

2. During the time frame of the conspiracy, members of the conspiracy sold
the controlled substances and controlled substance analogues. Co-conspirators then
conducted numerous financial transactions including, but not limited to, money Wires,
bank wires, and bank deposits, using U.S. currency, Canadian currency, and virtual
currency systems to pay for controlled substances; and

3. To hide their financial transactions, co-conspiratoi's used off-shore
accounts, anonymous viitual currency transactions, and third parties to move inoney, as
well as using encrypted communication applications to discuss financial transactions; and

4. The purpose of transferring currency in this fashion was to conceal and
disguise the nature, source, ownersliip, and control of the proceeds from the trafficking of
controlled substances and controlled substance analogues;

ln violation of Title 18, United States Code, Section 1956(11).

 

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7.

Defendant understands the charges carry the following maximum penalties:

Count One

Imprisonnient: 20 years
Fine: $500,000
Supei'vised Release: 3 years
Special Assessment: $100

Defendant agrees to pay the Clerk of United States District Court the special assessment

on or before the day of sentencing

8.

including:

Defendant understands that by pleading guilty defendant surrenders ri ghts,

(a) The right to a speedy public jury trial and related rights as follow:
(i) A jury would be composed of twelve (12) lay persons
selected at randoni. Defendant and defendant’s attorney would help choose
the jurors by removing prospective jurors “for cause,” where actual bias or

other disqualification is shown; or by removingjurors without cause by
exercising so-called peremptory challenges The jury would have to agree
unanimously'before it could return a verdict. .The jury would be instructed
that defendant is presumed innocent and that it could not return a guilty
verdict unless it found defendant guilty beyond a reasonable doubt.

(ii) If a trial were held without a jury, then the Judge Would find
the facts and determine whether defendant was guilty beyond a reasonable

doubt

 

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(iii) At a trial, whether by a jury or Judge, the United States is
required to present witness testimony and other evidence against defendant
Defendant’s attorney can confront and examine them. In turn, the defense
can present witness testimony and other evidence. If witnesses for
defendant refuse to appear voluntarily, defendant can require their
attendance through the subpoena power of the Court.

(iv) At a trial, defendant has a privilege against self~incrimination;
thus, defendant cali decline to testify. No inference of guilt can be drawn
from defendant’s refusal to testify. Defendant can choose to testify, but
cannot be required to testify.

(b) Defendant has a right to remain silent. However, under terms of the

Plea Agreement, the Judge will likely ask defendant questions about defendant’s

criminal conduct to ensure that there is a factual basis for defendant’s plea.

9. Defendant understands that by pleading guilty defendant is giving up all of
the rights set forth in the prior paragraph, and there will be no trial. Defendant’s attorney
has explained those rights, and consequences of defendant"s waiver.

lO. Tlie Court shall impose a sentence sufficient to comply with purposes set
forth in the Sentencing Reform Act. ln doing so, the Court shall consider factors set forth
in 18 U.S.C. § 3553(a), and must consult and take into account the United States’
Sentencing Commission, Guidelines Manual, (Nov. 2016) (USSG). Defendant
understands that the United States Attorney’s Office will fully apprise the District Court

and the United States Probatioii and Pretrial Services Office of the nature, scope, and

 

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extent of defendant’s conduct, including all matters in aggravation and mitigation
relevant to the issue of sentencing The United States expressly reserves the right to
appeal from an unreasonable sentence

ll. This Plea Agreement is binding only upon the United States Attorney for
the District of North Dakota. lt does not bind any United States Attorney outside the
District of North Dakota, nor does it bind any state or local prosecutor. They remain free
to prosecute defendant for any offenses under their jurisdictioii. This Plea Agreement
also does not bar or compromise any civil or administrative claim.

12. Defendant understands the United States Attorney reserves the right to
notify any local, state, or federal agency by whom defendant is licensed, or with whom
defendant does business, of defendant’s conviction.

13. The parties agree that the base offense level under the Sentencing
Guidelines for defendant’s conduct is 32. (USSG § ZSl.l(a)(l) - reasonably foreseeable
conspiracy involved 1.2 KG to 4 KG of fentanyl, USSG § 2Dl.l(c)(4));

+two levels for supervision (USSG § 3Bl..l (c))

14. n fit sentencing, United States agrees to recommend a 2-level downward
adjustment for acceptance of responsibility, provided defendant has demonstrated a
genuine acceptance of responsibility (USSG § 3El .l(a)). The United States fuither
agrees to move for an additional l-level downward adjustment for timely notifying the
United States of defendant’s intention to enter a guilty plea, thus permitting the Court and

the United States to allocate their resources efficiently. (USSG § 3El.l(b)).

 

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15. The parties stipulate and agree that, as of the date of this agreement, the
defendant appears to qualify for a two-level downward adjustment for acceptance of
responsibility However, the government may, in its discretion, contest the adjustment
under USSG § 3El.l(a) should the defendant subsequently fail to continue to accept
responsibility by failing to abide by the conditions of i'elease, if applicable; by providing
false information to the Court, the probation office, or the United States; by unlawfully
using controlled substances; by attempting to obstruct justice; by breaching this Plea
Agreement; or by acting in a way that is inconsistent with, or failing to act iii any way
that is consistent with the granting of the adjustment under USSG § 3El .l(a).

l6. Neitlier theCourt nor the Probation Office is a party to the Plea Agreement.
Neitlier the Court nor the Probation Office is bound by the Plea Agreement as to
determining the Sentencing Guideline range The Court may depart from the applicable
guidelines range if the Court, on the record, states factors not contemplated by the
Sentencing Guidelines’ Comniission to justify the departure Both parties reserve the
right to object to any departure §e_e USSG §-lBl.l, comment (n.l) (defines
“departure”). lThere may be other adjustments the paities have not agreed upon.

17. At sentencing, the United States will dismiss the Indictment.

18. Defendant acknowledges and understands that if defendant violates any
term of this Plea Agreement, engages in any fuither criminal activity, or fails to appear
for sentencing, the United States will be released from its commitments In that event,
this Plea Agreement shall become null and void at the discretion of the United States, and

defendant will face the following consequences: (l) all testimony and other information

 

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defendant has provided at any time to attorneys, employees, or law enforcement officers
of the government, to the Court, or tothe F ederal Grand Jury, may be used against
defendant in any prosecution or proceeding; and (2) the United States will be entitled to
reinstate previously dismissed charges and/or pursue additional charges against defendant
and to use any information obtained directly or indirectly from defendant in those
additional prosecutions Nothiiig in this agreement prevents the United States from
prosecuting defendant for perjury, false statement(s), or false declaration(s), if defendant
commits such acts in connection with this agreement or otherwise

19. Defendant acknowledges the provisions of Title 18, United States Code,
Sections 2259 and 3663A, which require the Court to order restitution Defendant agrees
to pay restitution as may be ordered by the Court. Defendant acknowledges and agrees
that the Court will order defendant to make restitution for all loss caused by defendant’s
conduct, regardless of whether counts of the Information will be dismissed as part of this
Plea Agreement. Defendant further agrees to grant the United States a wage assignnient,
liquidate assets, or complete any other tasks the Court finds reasonable and appropriate

l for the prompt payment of any restitutioii.or fine ordered by the Court. n -

20. The United States will file a Supplement in this case, as is routinely done in
every case, even thouin there may or may not be any additional terms. Defendant and
defendant’s attorney acknowledge that no threats, promises, or representations exist
beyond the terms of this Plea Agreement.

21. Defendant’s Waiver of Appeal. Defendants have a right to appeal their

conviction and sentence (Judgment), unless they agree otherwise Appeals are taken to

 

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the United States Court of Appeals for the Eighth Circuit (appellate couit), pursuant to
Title 18, United States Code, Section 3742(a). The appellate court has ruled that
defendants can waive (give up) their right to appeal. Defendants often waive their right
to appeal as part of a plea agreement and iii exchange for concessions by the

United States. The appellate court will enforce such waivers.

Defendant and defendant’s attorney acknowledge they have fully reviewed and
fully discussed the record in this case and all issues that may be raised on appeal. They
have fully discussed defendant’s right of appeal and the consequences of waiver.
Defendant has decided to waive any right of appeal, except as may be provided herein.

By signing this Plea Agreement, defendant voluntarily waives defendant’s right to
appeal the Court’s Judginent against defendant; and, absent a claim of ineffective
assistance of counsel, defendant waives all rights to contest the Judgment in any post-
conviction proceeding, including one pursuant to Title 28, United States Code, Section
225 5. Defendant reserves only the right to appeal from a sentence that is greater than the
upper limit of the Court-determined Sentencing Guidelines range

Defendant understands that the United States was motivated by defendant’s
willingness to waive any right of appeal when the United States chose to offer defendant
terms of a plea agreement In other words, the United States was willing to offer certain
terms favorable to defendant in exchange for finality. Defendant understands and agrees
this case will be over once defendant has been sentenced by the Court. Defendant agrees
that it will be a breach of this agreement if defendant appeals in violation of this

agreement The United States Will rely upon defendant’s waiver and breach as a basis for

 

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dismissal of the appeal. Moreover, defense counsel may reasonably conclude and inform
the appellate court that an appeal is wholly frivolous. Defense counsel may then move to
withdraw, citing Aiiders v. California, 386 U.S. 73 8, 744 (1967), and Smith v. Robbins,
528 U.S. 259 (2000). Defendant agrees an appeal in violation of this agreement should
be dismissed

By signing this Plea Agreement, the defendant further specifically waives
defendant’s right to seek to withdraw defendant’s plea of guilty, pursuant to F ederal
Rules of Criminal Procedure ll(d), once the plea has been entered in accordance with
this agreement The appellate court Will enforce such waivers. The defendant agrees that
any attempt to withdraw defendant’s plea will be denied and any appeal of such denial
should be dismissed.

22. The Assistant United States Attorney and attorney for defendant agree to
abide by the provisions of Rule 32(f) of the F ederal Rules of Criminal Procedure Tlie
attorneys acknowledge their obligation to use good-faith efforts to resolve any disputes
regarding the Preseiitence Investigation Report (PSIR) through a presentence conference
or other informal procedures . 4 ' n

23. Defendant acknowledges reading and understanding all provisions of the
Plea Agreement. Defendant and defendant’s attorney have discussed the case and

reviewed the Plea Agreement. They have discussed defendant’s constitutional and other

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rights, including, but not limited to, defendant’s plea-statement rights under Rule 410 of

the Federal Rules of Evidence and Rule ll(f) of the F ederal Rules of Criminal Procedure.

AGREED:

Dated:

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Dated:
ELiz“Ail§]ETi-i ToN a/i</`é LISA Goivijes
Defendant
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Dated: 5: Q~/ X/ /QY<</$/%
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Att 'ney for Defendant

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